                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    GISSING NORTH AMERICA LLC,                                       )   Case No. 22-46160
    a Delaware Limited liability company,                            )
    et al.1                                                          )   Hon. Lisa S. Gretchko
                                                                 )
                                           Debtors.              )       (Jointly Administered)
                                                                     )

        APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
     OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO RETAIN
    AND EMPLOY BERKELEY RESEARCH GROUP, LLC, AS FINANCIAL
             ADVISOR EFFECTIVE AS OF AUGUST 18, 2022

             The Official Committee of Unsecured Creditors (the “Committee”) of the

above-captioned debtors and debtors-in-possession (collectively, the “Debtors”),

respectfully submits this application (the “Application”) for entry of an order,

substantially in the form attached hereto, pursuant to sections 328 and 1103(a) of

Title 11 of the United States Code (the “Bankruptcy Code”), Rule 2014 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1

of the Local Rules of the Bankruptcy Court for the Eastern District of Michigan (the

“Local Rules”), authorizing the Committee to employ and retain Berkeley Research


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      Debtors’ cases are being jointly administered for procedural purposes only and consist of Debtors Gissing North
      America LLC, Case No. 22-46160, Gissing Auburn LLC, Case No. 22-46169, Gissing Fremont LLC, Case No.
      22-46170, Gissing Greenville LLC, Case No. 22-46171, Gissing Sidney LLC, Case No. 22-46172, Gissing
      Sumter LLC, Case No. 22-46173, Gissing Technologies LLC, Case No. 22-46174, and Gissing Technologies
      Mexico LLC, Case No. 22-46175.




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Group, LLC (“BRG”) as its financial advisor effective as of August 18, 2022. In

support of this Application, the Committee submits the Declaration of Joseph

Vizzini (the “Vizzini Declaration”), attached hereto and incorporated herein by

reference. In further support of the Application, the Committee respectfully states as

follows:

                          JURISDICTION AND VENUE

        1.   This Court has jurisdiction over these cases pursuant to 28 U.S.C §§

157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

        2.   By Local Rule 83.50(a) of the United States District Court for the

Eastern District of Michigan, the District Court has referred all bankruptcy cases to

the Bankruptcy Court (the “Court”) for initial determination, as permitted by 28

U.S.C. § 157(b).

        3.   This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O),

and the Committee consents to entry of a final order by the Court in connection with

this Application to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution.




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      4.    The statutory bases for the relief requested herein are sections 328(a)

and 1103(a) of the Bankruptcy Code, Bankruptcy Rule 2014, and Local Rule 2014-

1.

                FACTUAL AND PROCEDURAL BACKGROUND

      5.    On August 8, 2022 (the “Petition Date”), the Debtors each commenced

a voluntary case (together the “Cases”) under chapter 11 of the Bankruptcy Code in

this Court. The Debtors are authorized to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No examiner or trustee has been appointed in these Cases.

      6.    The Cases are being jointly administered pursuant to Bankruptcy Rule

1015(b) and the Court’s Order Granting First-Day Motion for Joint Administration

of Debtors’ Chapter 11 Cases [Dkt No. 16], entered on August 8, 2022.

      7.    On August 15, 2022 (the “Formation Date”), the United States Trustee

for the Eastern District of Michigan (the “U.S. Trustee”), pursuant to sections

1102(a) and (b) of title 11 of the Bankruptcy Code, appointed the Committee to serve

as the Official Committee of Unsecured Creditors for the Debtor. The creditors

appointed as members of the Committee are: (i) Pro Design & Manufacturing LLC,

(ii) Pingor Technology Company Limited, (iii) Mitsuiya Industries, Co., Ltd., (iv)

Hartt Transportation System, Inc., (v) Drake Extrusion, Inc., (vi) 189 Milacron,



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LLC, and (vii) Stein Fibers [Dkt. No. 89]. The Committee has appointed Sidney

Stein, Board Member for Stein Fibers as Chairperson of the Committee.

      8.     On August 18, 2022, the Committee selected BRG to serve as its

financial advisor. The Committee has also selected Foley & Lardner LLP (“Counsel”

or “Foley”) to serve as its counsel.

                               RELIEF REQUESTED
      9.     The Committee respectfully requests entry of an order pursuant to

sections 328 and 1103(a) of the Bankruptcy Code, Bankruptcy Rule 2014, and Local

Rule 2014-1 authorizing BRG to perform financial advisory services for the

Committee that will be necessary during these Cases. The Debtors are a large,

complex enterprise, and the Committee requires the services of an experienced

financial advisor such as BRG to provide financial advisory services that are critical

to the success of the cases.

      10.    The Committee determined that the services of BRG are necessary to

enable the Committee to assess and monitor the efforts of the Debtors and their

professionals, to ensure that the Debtors are able to successfully reorganize (through

standalone reorganization and/or asset sale(s)), and to maximize the value of the

Debtors’ estates for the benefit of the unsecured creditors.

      11.    Immediately upon its selection, BRG commenced work on several

time-sensitive matters and promptly devoted substantial resources to these Cases

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pending submission and approval of this Application. In order to allow BRG to be

compensated for work performed prior to and after the submission of this

Application, the Committee seeks to employ BRG as its financial advisor effective

as of August 18, 2022.

      12.    The Committee seeks to retain BRG, in accordance with the terms and

subject to the conditions set forth in this Application, including the Fee Structure (as

defined below) and the indemnification provisions set forth on Exhibit C (the

“Indemnity Provisions”), subject to the standards set forth in section 328 of the

Bankruptcy Code.

                       BASIS FOR RELIEF REQUESTED

      13.    Section 1103 of the Bankruptcy Code provides in pertinent part:

             (a) At a scheduled meeting of a committee appointed
             under section 1102 of this title, at which, a majority of the
             members of such committee are present, and with the
             court’s approval, such committee may select and authorize
             the employment by such committee of one or more
             attorneys, accountants, or other agents, to represent or
             perform services for such committee. . .

11 U.S.C. § 1103.

      14.    Section 328(a) of the Bankruptcy Code provides in pertinent part:

             The trustee, or a committee appointed under section 1102
             of this title, with the court’s approval, may employ or
             authorize the employment of a professional person under
             section 327 or 1103 of this title, as the case may be, on any
             reasonable terms and conditions of employment . . .
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11 U.S.C. § 328(a).

      15.    Bankruptcy Rule 2014(a) requires that an application for retention

include: “Specific facts showing the necessity for the employment, the name of the

[firm] to be employed, the reasons for the selection, the professional services to be

rendered, any proposed arrangement for compensation, and, to the best of the

applicant’s knowledge, all of the [firm’s] connections with the debtor, creditors, any

other party in interest, their respective attorneys and accountants, the United States

trustee, or any person employed in the office of the United States trustee.”

                           BRG’S QUALIFICATIONS

      16.    BRG has significant qualifications and experience in providing the

services contemplated herein. BRG’s Corporate Finance practice consists of senior

financial, management consulting, accounting, and other professionals who

specialize in providing restructuring, transaction advisory, litigation support,

solvency, and valuation assistance and providing a focus on viable solutions that

maximize value for companies and creditors, typically in distressed business

settings. BRG has acted as financial advisor, crisis manager, and corporate officer

in middle market to large multinational restructurings across a wide array of

industries. BRG’s services also include forensic analysis, plan development and

implementation, and advice on sale/merger transactions. Moreover, the

professionals at BRG have assisted and advised creditors’ committees, debtors,
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creditors, bondholders, investors, and others in numerous bankruptcy cases,

including The Hertz Corporation, Centric Brands, Inc., CBL & Associates,

Properties, Inc., GNC Holdings, Inc., General Wireless Operations, Inc (a.k.a.

RadioShack Inc.), Diamond Offshore Drilling, Inc., GMAC Mortgage Corporation,

LLC, Doral Financial Corporation, Tropicana Entertainment, LLC, Molycorp Inc.,

Fred’s, Inc., Lucky Brand Dungarees, LLC, Verity Health System of California, 21st

Century Oncology Holdings, Southern Foods Group, LLC (a.k.a. Dean Foods),

Borden Dairy Company, Peabody Energy Corporation, Orexigen Therapeutics, Inc.,

Sabine Oil & Gas Corp., Color Spot Holdings, The Weinstein Company, Aralez

Pharmaceuticals, Quicksilver Resources, Inc., Walter Energy, Arch Coal, Real

Industry, Inc., M & G USA Corporation, Chrysler (a.k.a. Old Carco LLC), MF

Global Holdings, Ltd., Nine West Holdings, Inc., Vitamin World, Inc., Reichhold

Holdings US, Inc., Refco, Inc., Spiegel Inc., W.R. Grace, Penson Worldwide,

SemGroup, and Nortel.2

      17.        The Committee reviewed materials submitted by BRG prior to

selecting it as the Committee's financial advisor. Such selection was based on the

Committee's determination that BRG is the best candidate for the services to be

provided and that its proposed Fee Structure is competitive and appropriate given



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          The professionals were employed in certain of these engagements prior to joining BRG.

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the Committee's understanding of the facts and circumstances of these Cases.

Further, the Committee chose BRG to act as its financial advisor in these Cases based

in large part on the experience outlined above. The Committee believes that BRG’s

services are necessary to enable the Committee to assess and monitor the Debtors’

restructuring efforts in furtherance of the Committee’s obligations to protect the

interests of and maximize value for all unsecured creditors. Moreover, based on the

experience of BRG’s professionals in large, complex chapter 11 cases, the

Committee believes that BRG is well-qualified to provide such services in a cost-

effective, efficient, and timely manner.

      18.    Pursuant to section 1103(a) of the Bankruptcy Code, a committee may

retain advisors to assist in the chapter 11 case. See 11 U.S.C. § 1103(a). In the

Debtor’s Chapter 11 Case, the Committee requires qualified professionals to render

these essential financial advisor services. As discussed above, BRG has substantial

expertise as a financial advisory in complex chapter 11 cases and is well qualified to

perform these services and to assist the Committee in these Cases.

                  SCOPE OF SERVICES TO BE PROVIDED

      19.    BRG has agreed to provide services to the Committee in accordance

with the terms and conditions set forth in this Application. The terms reflect the

mutual agreement between the Committee and BRG as to the substantial efforts that

may be required of BRG in this engagement. BRG will provide such financial

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advisory services to the Committee as the Committee deems appropriate and

necessary in order to advise the Committee during the course of these Cases. The

services to be rendered by BRG, which services may be subject to modification at

the Committee’s request, are necessary to enable the Committee to faithfully execute

its statutory duties to unsecured creditors.

      20.     Subject to further order of this Court, the Committee has requested that

BRG render financial advisory services with respect to the following areas:

             a.     Developing periodic monitoring reports to enable the Committee
                    to evaluate effectively the Debtors’ financial performance
                    relative to projections and any relevant operational issues,
                    including extension of liquidity beyond contemplated
                    milestones, on an ongoing basis;
             b.     Scrutinizing cash disbursements and capital requirements on an
                    on-going basis for the period subsequent to the commencement
                    of these cases;
             c.     Advising and assisting the Committee with respect to any debtor-
                    in-possession financing;
             d.     Reviewing and analyzing relief requested in cash management
                    motion and other use of cash collateral arrangements negotiated,
                    including proper controls related to and financial transparency
                    into intercompany transactions;
             e.     Analyzing both historical and ongoing related party transactions
                    and or material unusual transactions of the Debtors’ and non-
                    Debtor affiliates’;
             f.     Developing and issuing periodic monitoring reports to enable the
                    Committee to evaluate effectively the Debtors’ ability to realize
                    or settle claims for avoidance actions or any 363 sale process (if
                    undertaken, and subsequent wind-down activities) on an ongoing
                    basis;

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           g.      If a 363 sale process is undertaken, evaluating and participating
                   in the process to ensure the process proceeds in the most efficient
                   manner to maximize recoveries to the unsecured creditors;
           h.      Working with the Debtors’ advisors to evaluate the adequacy of
                   any pre-petition and, if undertaken, post-petition sale process;
           i.      Working with the Debtors’ tax advisors to ensure that any
                   restructuring or sale transaction is structured to minimize tax
                   liabilities to the estate;
           j.      As appropriate, and in concert with the Committee’s other
                   professionals, analyzing and monitoring any prior sale processes
                   and transactions and assess the reasonableness of the process and
                   the consideration received;
           k.      Advising the Committee and counsel in evaluating any court
                   motions, applications, or other forms of relief, relating to
                   vendors, wages and taxes;
           l.      Advising and assisting the Committee in identifying and/or
                   analyzing any preference payments, fraudulent conveyances, and
                   other potential causes of action that the Debtors’ estates may hold
                   against insiders and/or third parties;
           m.      Providing support to the Committee and counsel regarding
                   potential litigation strategies vis à vis insiders as well as third
                   parties;
           n.      Evaluating any Accommodation Agreement between the
                   Debtors and major customers;
           o.      Analyzing and evaluating the supply chain strategy for pre-
                   petition value decrease, avenues for potential go forward savings
                   and non-accommodation value enhancement
           p.      Analyzing the Debtors’ and non-Debtor affiliates’ assets
                   (tangible and intangible) and possible recoveries to creditor
                   constituencies under various scenarios and developing strategies
                   to maximize recoveries;
           q.      Monitoring Debtors’ claims management process, including
                   analyzing claims and guarantees, and summarizing claims by
                   entity. Based upon the analysis of claims by entity, prepare a
                   waterfall of expected recoveries to creditor classes under various
                   settlement scenarios;
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             r.      Preparing a working waterfall model that estimates the recovery
                     to creditors from interests in unencumbered value
             s.      Reviewing and providing analyses of any bankruptcy plan and
                     disclosure statement relating to the Debtors, including the
                     assessment of projections to ensure any plan of reorganization is
                     supported by credible business and operational plans, and if
                     appropriate, developing any bankruptcy plans proposed by the
                     Committee to assess their achievability;
             t.      If requested to do so, preparing certain valuation analyses of the
                     Debtors’ businesses and assets using various professionally
                     accepted methodologies;
             u.      Attending Committee meetings and court hearings as may be
                     required; and
             v.      Performing other matters as may be requested by the Committee
                     from time to time, including: rendering expert testimony, issuing
                     expert reports and or preparing litigation, valuation and forensic
                     analyses that have not yet been identified but as may be requested
                     from time to time by the Committee and its counsel.

      21.    In addition to services related to these areas, BRG understands that it

may be requested to participate, at the Committee’s request and to the extent

appropriate, in meetings and discussions with the Committee, the Debtors, and the

other parties-in-interest and with their respective professionals.

      22.    As noted above, the Committee selected BRG as its financial advisor

on August 18, 2022 and requested BRG immediately commence work on time-

sensitive matters and promptly devote substantial resources to the Debtor’s Cases

prior to submission and approval of this Application. Since its retention on August

18, 2022, BRG, on behalf of the Committee, has been focused on, among other

things, (a) conducting diligence on the Debtor’s assets, liabilities, and business
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operations, (b) evaluating the terms of the DIP financing arrangement, and (c)

negotiating proposed bid procedures. Accordingly, the Committee requests approval

of the Application effective as of the date that BRG was retained by the Committee

on August 18, 2022.

                       NO DUPLICATION OF SERVICES

      23.    The services to be provided by BRG will be at the request and direction

of the Committee so as to avoid duplicative efforts among the Committee’s

professionals retained in this case.

      24.    BRG intends to communicate regularly with the Committee and its

legal advisors to ensure that the actual financial advisory services performed are

appropriate based on the status of the case and needs of the Committee. BRG will

coordinate all tasks with Counsel to achieve case efficiencies and avoid duplication

of efforts. The Committee believes it is necessary to employ BRG as its financial

advisor to render the foregoing professional services. In light of BRG’s substantial

experience and expertise and the complex nature of the Debtors’ business and

financial affairs, the Committee believes that BRG is well qualified to advise it in

these bankruptcy cases.

                            USE OF CONTRACTORS

      25.    Notwithstanding anything in this Application to the contrary, BRG

shall (i) to the extent that it uses the services of independent contractors or
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subcontractors (the “Contractors”) in these Cases, pass-through the cost of

Contractors to the Debtors at the same rate that BRG pays the Contractors; (ii) seek

reimbursement for actual costs only; (iii) ensure that the Contractors are subject to

the same conflict checks and compensation procedures as required for BRG; and (iv)

file with the Court such disclosures required by Bankruptcy Rule 2014.

                      PROFESSIONAL COMPENSATION

      26.    Bankruptcy Code section 328(a) provides, in relevant part, that a

committee appointed under Bankruptcy Code section 1102 "with the court's

approval, may employ or authorize the employment of a professional person under

section 327 or 1103 of this title on any reasonable terms and conditions of

employment, including on a retainer, on an hourly basis, on a fixed or percentage

fee basis, or on a contingent fee basis." 11 U.S.C. § 328(a).

      27.    Subject to the Court's approval, and in accordance with section 328(a)

of the Bankruptcy Code, BRG advised the Committee that it intends to charge its

standard hourly rates for professional services rendered, plus reimbursement of

actual and necessary expenses incurred by BRG. The professional fees shall be

calculated by multiplying the hours worked by the standard hourly billing rates in

effect for the specific personnel involved. The hourly rates charged by BRG for the

services provided by its personnel differ based upon, among other things, each

professional’s level of experience, geographic differentials, and types of services

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being provided. In the ordinary course of business, BRG periodically revises its

hourly rates to reflect promotions and other changes in personnel responsibilities,

increases in experience, and increases in the cost of doing business.

      28.      BRG has advised the Committee that its fees will be commensurate

with the fees charged to its other clients and in other cases of this size (provided such

clients are billed hourly). BRG has also advised the Committee that it intends to

make application to the Court for allowance of its compensation and reimbursement

of expenses in accordance with applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, the 1996 U.S. Trustee Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Unser 11

U.S.C. 330 (the “UST Guidelines”) and the terms of any order establishing

procedures for interim compensation that may be entered in these cases. BRG’s

compensation for services rendered on behalf of the Committee shall be fixed by the

Court after due application.

      29.    For professional services, fees are based on BRG’s standard hourly

rates. The proposed rates of compensation (the “Fee Structure”), subject to final

Court approval, are the customary hourly rates in effect when services are performed

by the professionals and paraprofessionals who provide services to the Committee.

The current standard hourly rates for BRG personnel that will work on this

engagement are as follows:
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                                                           2022
            Managing Directors                         $925 - $1,195
            Associate Directors & Directors             $725 - $950
            Professional Staff                          $325 - $725
            Support Staff                               $195 - $300


      30.      These standard hourly rates are subject to periodic adjustment, which

shall be noted on the invoices for the first time period in which the revised rates

become effective. The standard hourly rates for the BRG experts anticipated to be

assigned to this engagement are as follows: David Galfus ($1,150), Peter Chadwick

($1,150), and Joseph Vizzini ($975) (together with the assigned professional staff

the “BRG Personnel”). BRG believes that its standard hourly rates are at or below

those of firms it considers its peers.

      31.      Consistent with BRG’s policy with respect to its other clients, BRG will

charge for all other services provided and for other charges and disbursements

incurred in rendering services to the Committee. These customary items include,

among other things, travel and lodging expenses, business meals, costs of

reproduction, research, communications, our legal counsel, any applicable sales or

excise taxes and other direct expenses. Internal costs or overhead cost and document

production services (including regular secretarial and word processing time) will not

be charged for separately.

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      32.    BRG will also request compensation for any time and expenses

(including, without limitation, reasonable legal fees and expenses, except in the case

of legal fees pertaining to any fee defense) that may be incurred in considering or

responding to discovery requests or other requests for documents or information, or

in participating as a witness or otherwise in any legal, regulatory, or other

proceedings, including, without limitation, those other than the instant matter, as a

result of BRG’s performance of these services.

      33.    BRG will maintain detailed records of fees and expenses incurred in

connection with the rendering of the financial advisory services described above, in

accordance with applicable rules and guidelines. Regardless of the time and manner

of interim compensation, BRG understands that, subject to this Court's orders, BRG

will be required to follow the procedures for final allowance of fees at the end of the

Cases.

      34.    BRG and the Committee expressly reserve their rights pursuant to

section 1129(a)(9)(A) of the Bankruptcy Code for BRG to receive the full amount

of compensation based on the foregoing notwithstanding the terms of any cash

collateral order or secured financing order now or hereafter entered in these Chapter

11 Cases providing for a limitation on the amount of fees payable to BRG for

specified or general purpose.



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      35.    The terms and conditions of this retention as set forth in this

Application were negotiated by the Committee at arm's length and in good faith.

After discussions and arm's length negotiations, the Committee believes that the Fee

Structure and the expense reimbursement provisions described above are consistent

with, and typical of, compensation arrangements entered into by BRG and other

comparable firms in connection with the rendering of similar services under similar

circumstances and is reasonable, market based and merited by BRG’s restructuring

expertise.

      36.    In light of the foregoing, the Committee believes that BRG’s Fee

Structure is reasonable, market-based, and designed to fairly compensate BRG for

its work in these Cases and to cover fixed and routine overhead expenses.

      37.    BRG acknowledges that neither the Committee, its constituents, nor

any of its advisors or professionals (including, but not limited to Counsel), shall be

liable for the fees, expenses or other amounts payable to BRG.

      38.    No promises have been received by BRG, nor any employee or

independent contractor thereof, as to payment or compensation in connection with

these Cases other than in accordance with the provisions of section 504 of the

Bankruptcy Code. Except for internal agreements among the employees and

exclusive independent contractors of BRG regarding the sharing of revenue or

compensation, neither BRG nor any of its employees or exclusive independent
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contractors has entered into an agreement or understanding to share compensation

with any other entity as described in Bankruptcy Code section 504 and Bankruptcy

Rule 2016.

                          LIMITATION OF LIABILITY

      39.    Except in the case of conduct by BRG or its agents involving gross

negligence, willful misconduct, reckless misconduct, or fraud, BRG shall not be

liable under this agreement to the Committee or their respective successors, assigns

or affiliates for damages in excess of the amount of the fees paid hereunder to BRG.

The terms of this paragraph shall survive the termination of this agreement and such

commitments shall extend upon the terms set forth in this paragraph to any

controlling person, director, officer, employee or affiliate of BRG.

      40.    The Committee has agreed that BRG shall not be liable for any delays

resulting from circumstances or causes beyond its reasonable control, including,

without limitation, fire or other casualty, act of God, strike or labor dispute, war or

other violence, or any law, order or requirement of any governmental agency or

authority.

      41.    Except in the case of conduct by BRG or its agents involving gross

negligence, willful misconduct, reckless misconduct, or fraud, the Committee has

agreed that the parties shall not be liable to each other for any consequential,

incidental, special or punitive damages, nor shall BRG be liable for direct
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compensatory damages in excess of the fees actually received by BRG for the

performance of services hereunder.

                              INDEMNIFICATION

      42.   BRG requests that the Debtor will indemnify, hold harmless and pay

the reasonable out-of-pocket legal or other expenses of BRG or any of its partners,

directors, officers, employees, agents, counsel, and affiliates (collectively, the

“Indemnified Persons”) under certain circumstances, as described more specifically

in the Indemnity Provisions set forth on Exhibit C. BRG believes the Indemnity

Provisions are customary for financial advisors in similar engagements.

      43.   Financial advisors seek indemnification for a variety of reasons. The

performance of BRG’s responsibilities requires the exercise of professional

judgment regarding difficult business and financial issues, as to which many persons

may have diverse financial interests. BRG intends to rely on the accuracy and

completeness of the financial information and other information to be provided by

the Debtor. The Committee notes that, in the event an Indemnified Person acts with

gross negligence or willful misconduct, the estates will be entitled to recover

amounts paid pursuant to the Indemnity Provisions.

                         BRG’S DISINTERESTEDNESS

      44.   In connection with the proposed retention by the Committee in these

Cases, BRG has received a list of parties in interest, compiled by reviewing various

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documents submitted by the Debtors’ counsel to the Court, including their retention

documents, attached to the Vizzini Declaration as Exhibit B-1.

      45.    To the best of the Committee’s knowledge and based upon and subject

to the disclosures made in the Vizzini Declaration filed contemporaneously

herewith, BRG (inclusive of its affiliates, subsidiaries and parent entities) is a

“disinterested person” as that term is defined in section 101(14) of the Bankruptcy

Code (and as required by section 1103(b) of the Bankruptcy Code) and the

Committee is satisfied that (i) BRG represents no interest adverse to the Committee,

the Debtors, their estates, or any other party in interest in the matters upon which it

is to be engaged and that its employment is in the best interest of the estates; (ii)

BRG together with its Managing Directors and Directors do not have any financial

interest in or business with the Debtors; (iii) BRG has no connection with the U.S.

Trustee or any other person employed in the office of the U.S. Trustee; and (iv) BRG

has no connection with the bankruptcy judge approving the employment of BRG as

the Committee’s financial advisor. BRG has not provided, and will not provide, any

professional services to the Debtors, any other creditors, other parties in interest, or

their respective attorneys and accountants with regard to any matter related to these

Cases.

      46.    From time to time, BRG may be asked to value and manage the

liquidation of assets of investment funds. Such investment funds could, from time to
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time, take positions in debt or equity of the Debtors, without BRG’s knowledge or

consent. BRG has no pecuniary interest in such investment funds, nor will BRG

profit from the value realized from the sale of such funds’ interests in the Debtors.

Under such circumstances, if BRG is providing valuation work on any debt or equity

securities of the Debtors for any investment fund for the duration of this engagement,

then the BRG employees undertaking such work will be restricted and have no

access to the confidential information of the Debtors. Moreover, to the extent any

employees of BRG are utilized on this engagement for valuation expertise (and,

accordingly, given access to confidential information of the Debtors), for the

duration of this engagement those employees will not perform any valuation work

on any debt or equity securities of the Debtors for any investment fund.

      47.    As set forth in the Vizzini Declaration, if any new relevant facts or

relationships bearing on the matters described herein during the period of BRG’s

retention are discovered or arise, BRG will use reasonable efforts to promptly

supplement its disclosure to the Court.

      48.    Based on the foregoing, the Committee believes that the employment

of BRG would be in the best interests of the Committee, and the Debtor’s estate and

creditors.




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                                   CONCLUSION

      49.    The Committee submits that for all the reasons stated above and in the

Vizzini Declaration, the retention and employment of BRG as financial advisor to

the Committee is warranted under section 1103. Further, based on the foregoing and

as described in the Vizzini Declaration, BRG does not represent any person or entity

in connection with the Debtor’s cases other than the Committee, BRG is a

“disinterested person” as that term is defined in section 101(14) of the Bankruptcy

Code, and BRG does not represent or hold any interest adverse to the interests of the

Committee or the Debtor’s estates with respect to the matters for which it is to be

employed.

                                      NOTICE

      50.    Notice of this Application will be provided to: (a) the Debtors; (b)

Debtors’ counsel; (c) the Office of the United States Trustee for the Eastern District

of Michigan; (d) the holders of the 20 largest unsecured claims against the Debtors;

(e) any known purported secured creditors; and (f) any party that has requested

notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). BRG

submits that, in light of the nature of the relief requested, no other or further notice

need be given.

      51.    Please take note that, in accordance with Local Rule Bankruptcy Rule

2014-1(b), BRG is seeking the concurrence of the United States Trustee for this

                                            22


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Application. If the United States Trustee consents under Rule 2014-1(b) and no other

objections have been filed, an order approving the Application may be entered prior

to expiration of 14 day period under Local Bankruptcy Rule 9014-1, and without a

hearing.

                          NO PREVIOUS REQUEST

      52.   No previous request for the relief sought herein has been made by the

Committee to this or any other court.



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                                           23


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         WHEREFORE the Committee respectfully requests that the Court enter an

order:

         (a)   Granting this Application;

         (b)   Authorizing the Committee to employ BRG as its financial advisor

effective as of August 18, 2022, on the terms set forth in the Application, with fees

and expenses to be paid as administrative expenses in such amounts as the Court

may hereafter determine and allow;

         (c)   Finding notice of this Application as given sufficient; and

         (d)   Granting such further relief as the Court deems just and proper.


                                  Respectfully submitted,


Dated: September 2, 2022          THE OFFICIAL COMMITTEE OF
                                  UNSECURED CREDITORS OF GISSING
                                  NORTH AMERICA, LLC ET AL.

                                  By:          /s/ Sidney Stein
                                         Sidney Stein, Stein Fibers, Chairperson of the
                                         Committee




                                             24


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                                    Exhibit A

                                Proposed Order




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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    GISSING NORTH AMERICA LLC,                                    )      Case No. 22-46160
    a Delaware Limited liability company,                         )
    et al.1                                                       )      Hon. Lisa S. Gretchko
                                                                  )
                                           Debtors.               )      (Jointly Administered)
                                                                  )

             ORDER AUTHORIZING THE OFFICIAL COMMITTEE
         OF UNSECURED CREDITORS TO RETAIN AND EMPLOY
       BERKELEY RESEARCH GROUP, LLC, AS FINANCIAL ADVISOR
                 EFFECTIVE AS OF AUGUST 18, 2022

             This matter came to be heard on the Application (the “Application”) of the

Official Committee of Unsecured Creditors (the “Committee”) and upon the

accompanying declaration of Joseph Vizzini (the “Vizzini Declaration”), for an

order authorizing the employment and retention of Berkeley Research Group, LLC

(“BRG”) to represent the Committee as financial advisor in the above-captioned

Cases; due and proper notice having been given; and the Court being satisfied based

on the representations made in the Application and the accompanying Vizzini

Declaration that BRG does not hold or represent any interest that is adverse to

1
      Debtors’ cases are being jointly administered for procedural purposes only and consist of Debtors Gissing North
      America LLC, Case No. 22-46160, Gissing Auburn LLC, Case No. 22-46169, Gissing Fremont LLC, Case No.
      22-46170, Gissing Greenville LLC, Case No. 22-46171, Gissing Sidney LLC, Case No. 22-46172, Gissing
      Sumter LLC, Case No. 22-46173, Gissing Technologies LLC, Case No. 22-46174, and Gissing Technologies
      Mexico LLC, Case No. 22-46175.

                                                          2


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Debtors’ estates in the above-captioned cases and is disinterested under section

101(14) and as modified by section 1103(b) of the Bankruptcy Code; and it

appearing to the court that cause exists for the entry of this order, and for authorizing

the employment of BRG as financial advisor for the Committee effective as of

August 18, 2022, including that such employment as of August 18, 2022 is in the

best interests of Debtors’ estates; and the Court being fully advised in the premises

and having determined that the legal and factual bases set forth in the Application

establish just cause for the relief granted herein;2

IT IS HEREBY ORDERED that:

           1.       The Application is granted as provided herein.

           2.       The Committee is authorized and empowered to retain and employ

BRG as its financial advisor in these cases effective as of August 18, 2022, pursuant

to Bankruptcy Code sections 328(a) and 1103.

           3.       The terms and conditions of BRG’s retention as set forth in the

Application, including, without limitation, the fee and expense structure, and the

Indemnity Provisions set forth on Exhibit C, are hereby approved.

           4.       BRG shall file interim and final fee applications for allowance of

compensation and reimbursement of its expenses incurred representing the



2
    Capitalized terms not otherwise defined herein shall have the meaning set forth in the Application.

                                                            3


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Committee in accordance with the procedures and standards set forth in sections 330

and 331 of the Bankruptcy Code, such Federal Rules of Bankruptcy Procedure and

local rules as may be applicable from time to time, and such procedures as may be

fixed by order of this Court.

      5.     In the event BRG seeks reimbursement for attorneys’ fees and

expenses, the invoices and supporting time records for the attorneys’ fees and

expenses shall be included in BRG’s fee and expense applications, and these

invoices and time records shall be in compliance with the Local Bankruptcy Rules

and shall be subject to the US Trustee Guidelines and the approval of the Bankruptcy

Court pursuant to sections 330 and 331 of the Bankruptcy Code, but without regard

to whether such attorneys have been retained under section 327 of the Bankruptcy

Code, and without regard to whether such attorneys’ services satisfy section

330(a)(3)(C) of the Bankruptcy Code. BRG shall not seek reimbursement of any

attorneys’ fees or costs arising from the prosecution or defense of any of BRG’s fee

and expense applications

      6.     The terms and conditions of this Order are immediately effective and

enforceable upon its entry.

      7.     The Court retains jurisdiction over all matters related to the

implementation of this Order.



                                            4


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                                    Exhibit B

                          Declaration of Joseph Vizzini




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
GISSING NORTH AMERICA LLC,                                         ) Case No. 22-46160
a Delaware Limited liability company,                              )
et al.1                                                            ) Hon. Lisa S. Gretchko
                                                                   )
                                          Debtors.                 ) (Jointly Administered)
                                                                   )

            DECLARATION OF JOSEPH VIZZINI IN SUPPORT OF
      APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
     OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO RETAIN
    AND EMPLOY BERKELEY RESEARCH GROUP, LLC, AS FINANCIAL
             ADVISOR EFFECTIVE AS OF AUGUST 18, 2022

         JOSEPH VIZZINI, pursuant to 28 U.S.C. § 1746, hereby declares as

follows:

         1.       I am a Managing Director of Berkeley Research Group, LLC (“BRG”)2,

a professional services firm with numerous offices throughout the country. I am duly

authorized to make this declaration (the “Declaration”) on behalf of BRG. Unless




1
 Debtors’ cases are being jointly administered for procedural purposes only and consist of Debtors Gissing North
America LLC, Case No. 22-46160, Gissing Auburn LLC, Case No. 22-46169, Gissing Fremont LLC, Case No. 22-
46170, Gissing Greenville LLC, Case No. 22-46171, Gissing Sidney LLC, Case No. 22-46172, Gissing Sumter
LLC, Case No. 22-46173, Gissing Technologies LLC, Case No. 22-46174, and Gissing Technologies Mexico LLC,
Case No. 22-46175.

2
  All references contained herein referring to BRG, including those pertaining to disinterestedness and disclosures of
relationships with parties in interest, refer collectively to Berkeley Research Group, LLC, and all of its affiliates,
subsidiaries, and parent entities.



                                                          1
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otherwise stated in this Declaration, I have personal knowledge of the facts set forth

herein and, if called as a witness, I could and would testify thereto.3

           2.       I submit this Declaration in support of the application (“Application”)4

of the Official Committee of Unsecured Creditors (the “Committee”) of the above-

captioned debtors (collectively, the “Debtors”) seeking entry of an order authorizing

the Committee to employ and retain BRG as financial advisor to the Committee,

effective as of August 18, 2022, pursuant to sections 328 and 1103(a) of Title 11 of

the United States Code, 11 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy

Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 2014-1 of the Local Rules of the Bankruptcy Court for the Eastern

District of Michigan (the “Local Rules”).

           3.       On August 18, 2022, the Committee selected BRG to serve as its

financial advisor, to perform financial advisory and litigation support services in

connection with these chapter 11 cases (the “Cases”). Since its retention by the

Committee, BRG has become familiar with the Debtors’ businesses and financial

affairs and is therefore particularly qualified to serve as the Committee’s financial

advisor.




3
 Certain of the disclosures set forth herein relate to matters within the knowledge of other Managing Directors and
Directors at BRG and are based on information provided by them.
4
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Application.


                                                            2
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      A.     Qualifications of Professionals

      4.     BRG is well-suited to act as financial advisor to the Committee in these

Cases. BRG’s Corporate Finance practice consists of senior financial, management

consulting, accounting, and other professionals who specialize in providing

restructuring, transaction advisory, litigation support, solvency, and valuation

assistance and providing a focus on viable solutions that maximize value for

companies and creditors, typically in distressed business settings. BRG’s services

also include forensic analysis, plan development and implementation, and advice on

sale/merger transactions. BRG has acted as financial advisor, crisis manager, and

corporate officer in middle market to large multinational restructurings across a wide

array of industries. Moreover, the professionals at BRG have assisted and advised

creditors’ committees, debtors, creditors, bondholders, investors, and others in

numerous bankruptcy cases, including The Hertz Corporation, Centric Brands, Inc.,

CBL & Associates, Properties, Inc., GNC Holdings, Inc., General Wireless

Operations, Inc (a.k.a. RadioShack Inc.), Diamond Offshore Drilling, Inc., GMAC

Mortgage     Corporation,     LLC,     Doral     Financial   Corporation,   Tropicana

Entertainment, LLC, Molycorp Inc., Fred’s, Inc., Lucky Brand Dungarees, LLC,

Verity Health System of California, 21st Century Oncology Holdings, Southern

Foods Group, LLC (a.k.a. Dean Foods), Borden Dairy Company, Peabody Energy

Corporation, Orexigen Therapeutics, Inc., Sabine Oil & Gas Corp., Color Spot


                                             3
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Holdings, The Weinstein Company, Aralez Pharmaceuticals, Quicksilver

Resources, Inc., Walter Energy, Arch Coal, Real Industry, Inc., M & G USA

Corporation, Chrysler (a.k.a. Old Carco LLC), MF Global Holdings, Ltd., Nine West

Holdings, Inc., Vitamin World, Inc., Reichhold Holdings US, Inc., Refco, Inc.,

Spiegel Inc., W.R. Grace, Penson Worldwide, SemGroup, and Nortel.5

           B.       Services to be Provided

           5.       BRG has agreed to provide financial advisory services to the

Committee pursuant to the terms set forth in the Application. BRG’s work product

will encompass only matters that come to its attention in the course of its work that

BRG perceives to be significant in relation to the objectives of its engagement.

Because of the time and scope limitations implicit in BRG’s engagement and the

related limitations on the depth of BRG’s analyses and the extent of BRG’s

verification of information, BRG may not discover all such matters or perceive their

significance. Accordingly, BRG will be unable to and will not provide assurances in

its work product concerning the integrity of the information used in its analyses and

on which BRG’s findings and advice to the Committee may be based. BRG

understands, and the Committee acknowledges, that BRG is not being requested to

perform an audit nor to apply generally accepted auditing standards or procedures.

BRG understands, and the Committee acknowledges, that BRG is entitled, in


5
    The professionals were employed in certain of these engagements prior to joining BRG.

                                                          4
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general, to rely on the accuracy and validity of the data disclosed to it or supplied to

it by employees and representatives of the Debtors. BRG will not, nor is BRG under

any obligation to, update data submitted to it or review any other areas unless the

Committee specifically requests us to do so. BRG’s work will be performed on a

reasonable “level-of-effort” basis; that is, the circumstances of BRG’s engagement

may cause its advice to be limited in certain respects based upon, among other

matters, the extent of sufficient and available data and the opportunity for supporting

investigations in the time period.

      6.     The terms and conditions of BRG’s proposed retention were negotiated

between the Committee and BRG and reflect the parties’ mutual agreement as to the

substantial efforts that will be required in this engagement.

      C.     No Duplication of Services

      7.     The services to be provided by BRG will be at the request and direction

of the Committee so as to avoid duplicative efforts among the Committee’s

professionals retained in this case.

      8.     BRG intends to communicate regularly with the Committee and its

legal advisors to ensure that the actual financial advisory services performed are

appropriate based on the status of the case and needs of the Committee. BRG will

coordinate all tasks with Counsel to achieve case efficiencies and avoid duplication

of efforts. In light of BRG’s substantial experience and expertise and the complex


                                            5
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nature of the Debtors’ business and financial affairs, BRG is well qualified to advise

the Committee in these bankruptcy Cases.

      D.     Use of Contractors

      9.     Notwithstanding anything in this Application to the contrary, BRG

shall (i) to the extent that, with the prior written consent of the Committee, it uses

the services of independent contractors or subcontractors (the “Contractors”) in these

Cases, pass-through the cost of Contractors to the Debtors at the same rate that BRG

pays the Contractors; (ii) seek reimbursement for actual costs only; (iii) ensure that

the Contractors are subject to the same conflict checks and compensation procedures

as required for BRG, and (iv) file with the Court such disclosures required by

Bankruptcy Rule 2014.

      E.     Professional Compensation

      10.    As discussed and agreed to with the Committee, for purposes of this

engagement, and with respect to the services to be provided, BRG will be entitled to

receive as compensation for its services, fees based on hours worked times standard

hourly rates plus reimbursement of actual and necessary expenses incurred by BRG.

      11.    For professional services, fees are based on BRG’s standard hourly

rates. The proposed rates of compensation, subject to final Court approval, are the

customary hourly rates in effect when services are performed by the professionals

and paraprofessionals who provide services to the Committee. The hourly rates


                                           6
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charged by BRG for the services provided by its personnel differ based upon, among

other things, each professional’s level of experience, geographic differentials, and

types of services being provided. Hourly rates are subject to periodic adjustment

(typically the first of the new calendar year) to reflect promotions and other changes

in personnel responsibilities, increases in experience, and increases in the cost of

doing business. The current standard hourly rates for the BRG personnel that are

anticipated to work on this engagement are as follows:

                                                        2022
             Managing Directors                     $925 - $1,195
             Associate Directors & Directors         $725 - $950
             Professional Staff                      $325 - $725
             Support Staff                           $195 - $300


      12.    These standard hourly rates are subject to periodic adjustment, which

shall be noted on the invoices for the first time period in which the revised rates

become effective. The standard hourly rates for the BRG experts anticipated to be

assigned to this engagement are as follows: David Galfus ($1,150), Peter Chadwick

($1,150), and Joseph Vizzini ($975). BRG believes that our standard hourly rates

are at or below those of national firms that we consider our peers.

      13.    Consistent with BRG’s policy with respect to its other clients, BRG will

charge for all other services provided and for other charges and disbursements

incurred in rendering services to the Committee. These customary items include,

                                           7
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among other things, travel and lodging expenses, business meals, costs of

reproduction, research, communications, our legal counsel, any applicable sales or

excise taxes and other direct expenses. Internal costs or overhead cost and document

production services (including regular secretarial and word processing time) will not

be charged for separately.

      14.    BRG will also request compensation for any time and expenses

(including, without limitation, reasonable legal fees and expenses, except in the case

of legal fees pertaining to any fee defense) that may be incurred in considering or

responding to discovery requests or other requests for documents or information, or

in participating as a witness or otherwise in any legal, regulatory, or other

proceedings, including, without limitation, those other than the instant matter, as a

result of BRG’s performance of these services.

      15.    BRG acknowledges that neither the Committee, its constituents, nor

any of its advisors or professionals (including, but not limited to, Counsel) shall be

liable for the fees, expenses, or other amounts payable to BRG.

      16.    Regardless of the time and manner of interim compensation, BRG

understands that, subject to this Court's orders, BRG will be required to follow the

procedures for final allowance of fees at the end of the Cases.

      17.    No promises have been received by BRG, nor any employee or

independent contractor thereof, as to payment or compensation in connection with


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these Cases other than in accordance with the provisions of section 504 of the

Bankruptcy Code. Except for internal agreements among the employees and

exclusive independent contractors of BRG regarding the sharing of revenue or

compensation, neither BRG nor any of its employees or exclusive independent

contractors has entered into an agreement or understanding to share compensation

with any other entity as described in Bankruptcy Code section 504 and Bankruptcy

Rule 2016.

         18.     BRG intends to apply to the Court for payment of compensation and

reimbursement of expenses in accordance with applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the U.S.T. Guidelines,

and any additional procedures that may be established by the Court in these Cases.

         F.      Disinterestedness of Professionals

         19.     BRG6 is a “disinterested person” as that term is defined in section

101(14) of the Bankruptcy Code because BRG, its Managing Directors and

Directors, and the BRG Personnel:

                 (a)      are not creditors, equity security holders, or insiders of the

Debtors;




6
 As previously noted, “BRG” herein collectively refers to Berkeley Research Group, LLC and all of its affiliates,
subsidiaries and parent entities.

                                                         9
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             (b)    are not and were not, within two years before the Petition Date,

directors, officers, or employees of the Debtors; and

             (c)    do not have an interest materially adverse to the interest of the

Debtors’ estates or of any class of creditors or equity security holders, by reason of

any direct or indirect relationship to, connection with, or interest in the Debtors or

for any other reason.

      20.    Moreover, to the best of my knowledge, information and belief formed

after reasonable inquiry, BRG, its Managing Directors and Directors, and the BRG

Personnel have no interests that are materially adverse to the Committee, the

Debtors’ estates, or the other creditors in these Cases.

      21.    To determine BRG’s relationship with the parties-in-interest identified

by the Committee to BRG, in preparing this Declaration, I caused the names of the

parties set forth in Exhibit B-1 (the “Potential Parties in Interest”), which is attached

hereto, to be submitted to BRG’s internal conflicts procedures. This list was

compiled by reviewing various documents submitted by the Debtors’ counsel to the

Court, including their retention documents. Accordingly, BRG is relying on the

accuracy and completeness of this information in connection with our conflict

review and disclosure. BRG’s internal conflict check procedures consist of the

querying of the Potential Parties in Interest, within an internal computer database

containing names of individuals and entities that are present or former clients of


                                            10
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BRG. The database that BRG queries to determine its lack of conflicts and

disinterestedness incorporates the names of individuals and entities that are present

and former clients both of BRG and all of its affiliates, subsidiaries, and parent

entities. Additionally, new matters are circulated to all Directors and Managing

Directors of BRG with a request to review and advise of any potential conflict of

interest concerns. All responses are reviewed and addressed by an attorney on

BRG’s Conflicts team.

         22.   To the best of my knowledge, information and belief, neither I nor any

other Managing Director or Director of BRG nor the BRG Personnel has any

connection with or holds any interest adverse to the Debtors, their estates, creditors,

shareholders, or any other party in interest herein or their respective attorneys in the

matters for which BRG is proposed to be employed, except that BRG has provided

other consulting services, and may in the future provide such services, to certain of

the Debtors’ creditors or other parties-in-interest in matters unrelated to the Debtors’

cases. As set forth in Exhibit B-2, which is attached hereto, BRG has certain

relationships with certain parties-in-interest in these cases, but such relationships are

unrelated to either the Debtors or these cases.

         23.   None of the engagements set forth in Exhibit B-2 are related to these

cases.




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      24.    Further, as part of its diverse practice, BRG appears in numerous cases,

proceedings and transactions that involve many different professionals, including

attorneys, accountants, and financial consultants, who may represent claimants and

parties-in-interest in the Debtors’ chapter 11 cases. Also, BRG has performed in the

past, and may perform in the future, advisory consulting services for various

attorneys and law firms, and has been and may be in the future represented by several

attorneys and law firms, some of whom may be involved in these proceedings. In

addition, BRG has in the past, may currently and will likely in the future be working

with or against other professionals involved in these cases in matters unrelated to the

Debtors and these cases. Moreover, BRG might have referred work to other

professionals who are retained in these Cases. Likewise, certain such professionals

who are retained in these Cases might have referred work to BRG. Based on our

current knowledge of the professionals involved, and to the best of my knowledge,

insofar as I have been able to ascertain after reasonable inquiry, none of these

relationships create interests materially adverse to the Debtors in matters upon which

BRG is to be employed, and none are in connection with these Cases.

      25.    From time to time, BRG may be asked to value and manage the

liquidation of assets of investment funds. Such investment funds could, from time to

time, take positions in debt or equity of the Debtors, without BRG’s knowledge or

consent. BRG has no pecuniary interest in such investment funds, nor will BRG


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profit from the value realized from the sale of their interests in the Debtors. Under

such circumstances, if BRG is providing valuation work on any debt or equity

securities of the Debtors for any investment fund for the duration of this engagement,

then the BRG employee undertaking such work will be restricted and have no access

to the confidential information of the Debtors. Moreover, to the extent any employee

of BRG is utilized on this engagement for valuation expertise (and accordingly,

given access to confidential information of the Debtors), for the duration of this

engagement those employees will not perform any valuation work on any debt or

equity securities of the Debtors for any investment fund.

      26.    To the best of my knowledge, none of the BRG Personnel is a direct

holder of any of the Debtors’ securities. It is possible that certain BRG Personnel or

BRG employees, managing directors, board members, equity holders, or affiliates

of any of the foregoing, may own interests in mutual funds or other investment

vehicles (including various types of private funds) that own the Debtors’ or other

Potential Parties in Interests’ debt or equity securities or other financial instruments

including bank loans and other obligations. Typically, the holders of such interests

have no control over investment decisions related to such investment funds or

financial instruments. BRG’s policy prohibits its employees from personally trading

in the Debtors’ securities.




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      27.    To the best of my knowledge, BRG has not been engaged to assist any

entity or person other than the Committee on matters relating to, or in connection

with, these cases. If this Court approves the proposed employment of BRG by the

Committee, then BRG will not accept any engagement or perform any services in

these cases for any entity or person other than the Committee. BRG may, however,

continue to provide professional services to, and engage in commercial or

professional relationships with, entities or persons that may be creditors of the

Debtors in these cases; provided, however, that such services do not and will not

relate to, or have any direct connection with, these Cases.

      28.    I am not related or connected to and, to the best of my knowledge, no

other Managing Director or Director of BRG, nor the BRG Personnel, is related or

connected to any United States Bankruptcy Judge or District Judge for the Eastern

District of Michigan, or the United States Trustee for the Eastern District of

Michigan or to any employee in the offices thereof.

      29.    To the extent I discover any additional facts bearing on the matters

described herein and required to be disclosed during the period of the Committee’s

retention of BRG, I will supplement the information contained in this Declaration.

      30.    I understand that the Committee requires knowledgeable consultants to

provide essential professional services in these cases. I understand that the

Committee has selected BRG as its financial advisor because of the firm’s diverse


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experience and extensive knowledge in the field of bankruptcy. I believe that BRG

is well qualified to perform these services in an efficient manner and represent the

Committee’s interests in these cases.

      31.    I understand that the Committee believes that BRG’s employment is in

the best interests of the Debtors and their estates and creditors. Because of BRG’s

extensive experience in business reorganizations and mergers and acquisitions as

well as its familiarity with the Debtors’ business operations, I believe that BRG is

exceptionally well qualified to serve as the Committee’s financial advisor.


      Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the

foregoing is true and correct.


Dated: September 2, 2022


                                         /s/ Joseph Vizzini
                                        Joseph Vizzini




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                                    Exhibit B-1

                 LIST OF POTENTIAL PARTIES IN INTEREST

Debtors                                       William Vaugh
Gissing Auburn LLC
Gissing Fremont LLC                           Secured Creditors/Vendors
Gissing Greenville LLC                        Advanced Engineering Solutions, Inc.
Gissing North America LLC                     Bank of The West
Gissing Sidney LLC                            De Lage Landen Financial Services,
Gissing Sumter LLC                               Inc.
Gissing Technologies LLC                      Frimo, Inc.
Gissing Technologies Mexico LLC               Reko International Group, Inc.
                                              Skylark Machine Inc.
Non-Debtor Affiliates                         Time
Conform Automotive LLC                        Toyota Industries Commercial
DTI Molded Products, Inc.                        Finance, Inc.
Gissing Automotive Systems LLC
Gissing Guanajuato S. de R.L. de              Secured Lenders
   C.V.                                       Comerica
Gissing Mexico S. De R.L. De C.V.             General Motors LLC
Wuxi Gissing Auto Parts Co., Ltd.             Huntington National Bank (agent)
                                              Tesla, Inc.
Debtor Management
Andrew Anderson                               Secured Lender's Counsel
Jessica Roast                                 Bodman PLC
Steven Wybo                                   DLA Piper LLP (US)
                                              Honigman LLP
Debtor Board of Directors                     McDonald Hopkins LLC
Claudio Calado
Ian Liu                                       Customers
Keda Zhu                                      2 Gamma Automotive SRL
                                              A&P Acoustic & Plastic Exteriors
Debtor Professionals                          Alliance Interiors LLC
Livingstone Partners LLC                      Atieva USA, Inc. DBA Lucid Motors
Riveron Management Services, LLC                  USA, Inc.
Wolfson Bolton PLLC                           Auria Albemarle
                                              Auria Solutions
Shareholders/Equity                           Autoneum North America
Steven Phillips                               BMW Group


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Cesyl Mills Inc.                                Nissan North America Inc.
Chrysler Company LLC                            Parker Hannifin Corporation
Corvac Composites, LLC                          PSC Fabricating
Delaware Valley                                 Quick Plug
Dexsys                                          SAIC USA Inc.
Draper Knitting                                 Sensical Inc.
Eissmann Automotive De Mexico                   Shaw Industries Inc.
    S.A. De C.V.                                Sonoco
Faurecia                                        Techniplas
Fibex Incorporation                             Ternes Procurement Services
Ford Motor Company                              Tesla, Inc.
Ford Service                                    Texel Technical
Foss MFG Co, LLC-DBA Foss Floors                Toyota Motor Engineering And
Foss Performance                                    Manuf.
General Motors LLC                              Toyota NAPCK
Genesee Group Inc.                              UGN, Inc.
GM Service Parts Operations                     Vistech Manufacturing Solutions
Hematite Inc.                                   Volkswagen Group of America, Inc.
HP Pelzer
HTNA Corp                                       Landlords
Industry Products                               Icon Owner Pool 3 West
Kamco Industries                                Service Properties Trust
Kamik Canada Inc.                               St. Germain Properties LLC
Kem Krest- Bristol                              Sudler Properties Trust
Lordstown Motors Corp
Lucid Motors USA, Inc.                          Largest Creditors List Parties
Lyle Industries                                 APT-Mold Manufacturing Co., Ltd.
M+A Matting                                     Autoneum North America
Mayco Intl-11 Mile Rd                           Bridge Logistics Inc.
Meiwa Industry North America, Inc.              Burcham International Corp
Mexauria Solutions, S. de R.L. de               C&C Recycling
    C.V.                                        Carolina Chiller Inc.
Milliken and Co.                                Carolina Industrial Services
Monterey Mills Inc.                             Central Maine Power
M-Tek Ohio                                      Constellation New Energy, Inc.
Multi Fibres Industries                         Drake Extrusion, Inc.
Navistar                                        DSV Road, Inc.
New Image Group                                 Duke Energy Progress
Nissan Carson                                   Dutton Polymer Group
Nissan Group of North America                   Easyflyer Logistic Limited

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EBA Service Group LLC                           AC Electric Corp
Erema North America                             AC Steel Rule Dies
Ethox Chemicals LLC                             Acromatic Plastics
Expert Machine & Fabrication                    Adaptive Corporation
Faith Group USA                                 Adecco Employment Services
FedEx                                           Advanced Innovative Technologies
Fibervisions Incorporated                           Inc.
Fox Hill Greenville LLC                         Advanced Interior Solutions Inc.
Hartt Transportation System, Inc.               Aegis Sciences Corporation
HQS Automotive International Inc.               AGM Automotive DBA Flex
I&M Industrial, Inc.                            Air Handling Equipment Inc.
Ice Recycling Inc.                              Air Incorporated
Icon Owner Pool 3 West                          Airgas National Welders
Indorama Ventures Sustainable                   Airgas USA, LLC
    Solutions, LLC                              Airline Hydraulics Corporation
Jiangsu Shifeng New Materials Co.,              AIT - Acoustic & Insulation
    Ltd.                                            Techniques
Johnson Controls                                Alcantara Spa
Metro 3PL                                       Allen Manufacturing, Inc.
Nefab Mexico S. de C.V.                         Allfi Waterjet, Inc.
Ningbo Huayou Auto Parts, Ltd.                  Alliance Interiors LLC
Ontrack, Inc.                                   Allied Electronics
Pingor Technology Company Limited               Almighty Waste
Polyquest Inc.                                  Alta Equipment Company
Pro Design & Manufacturing LLC                  American Steel & Aluminum
Seiren Viscotec Mexico S.A.de C.V.              American Systems Registrar (ASR)
Smith Machine & CNC Inc.                        Amerigas - Lewiston
Stein Fibers Ltd.                               Andantex Inc.
Techmer Pm                                      Android Industries Bowling Green,
Techstyles Inc.                                     LLC
Tesla, Inc.                                     Aphase II, Inc.
Tooling Technology LLC                          Applied Industrial Tech (Sidney)
Unitil                                          Applied Industrial Tech Inc. (Auburn)
Zschimmer & Schwarz                             Applied Metals & Machine Works
                                                APT-Mold Manufacturing Co., Ltd.
Unsecured Creditors/Vendors                     Aqua Systems
2 Gamma Automotive SRL                          Arc3 Gases Inc.
A Mobile Storage Co. Inc.                       Argent International Inc.
ABB Inc.                                        Armitage Product Supply
ABC Wire Sales Co.                              Aspen Technologies, Inc.

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Atco Industries                                 C&E Sales Inc.
Atlantic Electrical Systems                     C+M Utescheny Spritzgiebtechnik
A-Train Inc.                                        GmbH
August Mack Environmental                       Carlson, Gaskey & Olds
Aunde Mexico, S.A. de C.V.                      Carolina Chiller Inc.
Auria STC                                       Carolina Filters
Autefa Solutions North America Inc.             Carolina Fluid Components
Autoneum North America                          Carolina Industrial Services
Avient Corporation                              Carolina Scales
Avis                                            Carotek Inc.
Aztec Machinery Co                              Century Tool & Gage, LLC
B W Clark                                       Centurylink Business Services
Barwick Plumbing Co.                            CH Robinson Company
Bast Fibers LLC                                 Changzhou Jiasheng New Material
Bay Logistics                                       Technology Co., Ltd.
Bay View Funding                                Chem Point
Beacon Engineered Solutions                     Cincinnati Fan and Ventilator Co.
Bearings Dist                                   Cincinnati Life
Ben Alpren Machine Tool                         Cintas Corporation
& Supply Co                                     Cipa Electrical, LLC
Bete Fog Nozzle Inc.                            City of Auburn
Big Chief Inc.                                  Clark Hill PPLC
Birch Bros Southern Inc.                        Clean Harbors of Maine Inc.
Bitron Industry China Company Ltd.              CN Composites Co., Ltd.
Blackstock Sales Company                        Coastal Automotive
Blue Cross Blue Shield of Michigan              Coastal Equipment
Bobbie Beasley                                  Colonial Fuel and Lubricant Service
Bondtex, Inc.                                   Colonial Plastics Incorporated
Bonney Staffing Center                          Compass Group USA
Bossard De Mexico, S. A. de C.V.                Conair Group/IPEG Inc.
Bossard, Inc.                                   Concept Packaging
Bostik                                          Conform Automotive LLC
Boykin Air Conditioning Service                 Constellation New Energy, Inc.
Brewer Hendley Oil Company                      Convergen Energy
Bridge Logistics Inc.                           Conversion Technologies
BS&B Safety Systems                                 International Inc.
Burcham International Corp                      Cora International LLC
Butler Automatic Inc.                           Corvac Composites, LLC
Butler Bros Industrial Supply                   Cote Brothers
C&C Boiler Sales 7 Service, Inc.                Covert Mg.

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Creative Foam De Mexico S. de R.l.              ESA Employment Screening
   de C.V.                                          Associates
Crown Equipment Corporation                     Estes
Crown Lift Truck                                Ethox Chemicals LLC
Cummins Northeast Inc.                          Examinetics Inc.
D&H Trucking Services LLC                       Expeditors
Dalco Nonwovens, LLC                            Expert Machine & Fabrication
Damar Products Inc.                             Express Electric Constructors Inc.
Dassault Systemes Americas Corp                 Express Employment Professionals
Datong Designs                                  EZ Auotmation
Delmor Logistics S.A. de C.V.                   Faith Group USA
Derby Fabricating                               Fedex
Detroit Technologies LLC                        Fedex Freight
DHL Global Fowarding                            Ferrell Gas
Dinamec Systems                                 Fi Tech Inc.
Dispense Technologies, LLC                      Fiber Conversion Inc.
DM&E                                            Fibertech Teknoloji Tekstil
Doeren Mayhew & Co. Pc                              Ihr.San.Ve Tic Ltd. Sti
Downeast Machine & Engineering                  Fibervisions Incorporated
Drake Extrusion, Inc.                           Fielding's Oil Co. Inc.
DSV Air & Sea Inc.                              Filter Sales & Service
DSV Road, Inc.                                  First Choice Robotics
Dukane Intelligent Assy Solutions               Fiske Mobile Hearing Services
Duke Energy Progress                            Flow International Corp
Duo Robotic Solutions                           Fox Hill Greenville LLC
Dutton Polymer Group                            Francis Office Supplies
Dynamic Robotics Solutions, Inc.                Frankl & Thomas Inc.
EA Buschmann Inc.                               GDC, Inc.
Eagle Registrations                             General Courier
East Coast Calibration                          Gerald Minarik
Easyflyer Logistic Limited                      Gerrity Industries
EBA Service Group LLC                           Gissing Automotive Systems LLC
EFC International                               Gissing Guanajuato S. de R.l. de C.V.
EJOT Fasteners De Mexico y                      Gissing Holdings Inc.
   Compania, S. de C.                           Gissing Mexico S. de R.V. de C.V.
Electric Motor Service                          Gissing Tech. Co. Ltd.
Electro Controls                                Global Equipment Co. Inc.
Element Material Tech. Warren Inc.              Global Industrial LLC
Energy Management Consultant, Inc.              Global Sq, LLC
Erema North America                             Goodman Wiper & Paper

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Goulston Technologies Inc.                      Innovative Labeling Solutions
Graf Metallic of America, LLC                   Insight
Grainger Parts                                  Insight Environmental, LLC
Grainger WW Inc.                                Interra Global Corporation
Grakon LLC                                      IVC
Grand Rapids Label Company                      Jason Judkins
Graybar Corporation                             Jeffco Fibres
Great Lakes Trim                                Jiangsu Shifeng New Materials Co.,
Groz Beckert USA Inc.                               Ltd.
Guanajuato Tooling S.A. de C.V.                 Johnson Controls
Halco USA                                       K&L Gates LLP
Hansi America Corporation                       Kelly Services (Canada) Ltd.
Hanwha Azdel                                    Kemeera LLC DBA Fathom
Hartt Transportation System, Inc.               Kennerley Spratling
Heritage-Crystal Clean                          Kern-Liebers USA Textile
Hill Plumbing & Electric Co. Inc.               Kerr, Russel and Weber, PLC
Hill Printing Co. Inc.                          Keyence
Honeywell Scanning and Mobility                 KL Jack Ind'l Fastener
Horizon Solutions                               Kmaxima Technik GmbH
Hose & Equipment                                KMH Systems, Inc.
HQS Automotive International Inc.               Konecranes Inc. - Ohio Only
HYG Financial Services                          Konecranes Inc. - S.C. Only
Hyosung Corporation                             Koops, Inc.
I&M Industrial, Inc.                            Kosmek USA Ltd.
Iautomation                                     Lake City Electric
Ice Recycling Inc.                              Lee Machinery Movers
IFM Efector Inc.                                Leigh Fibers Inc.
Igus Inc.                                       Lexis Nexis Risk Solutions Group
Indeed. Inc.                                    Llobregat Empaques Y Suministros
Indorama Ventures Sustainable                   Lummus Corporation
    Solutions, LLC                              Lydey Automation
Indratech LLC                                   Mahan's Thermal Products
Industrial Chemtex Inc.                         Mahoney Foundries, Inc.
Industrial Sales and Distribution DBA           Maine Radio
    RP Morrison                                 Mansfield Oil Company R.W. Earhart
Industrial Scientific                           Map of Easton Inc.
Industry Products                               Markwell Manufacturing Co. Inc.
Infab Refractories Inc.                         Marquardt Switches Inc.
Infinger Unlimited                              Martor USA
Ingersoll-Rand Industrial US Inc.               Masterman's

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Materials Co., Ltd.                             New Pig Corporation
Matheson Tri Gas                                Nickerson Septic Service
Matta Blair PLC                                 Ningbo Huayou Auto Parts, Ltd.
Max Katz Bag Co                                 Ningbo Yexing Automotive Part Co,
McCalls Supply                                      Ltd.
McCormick Equipment                             Nitco Inc.
McLeod Occupational Health Sumter               Nix of America
McMaster Carr Supply Co                         Nolar
Mechadyne Machine Inc.                          Novocart, S.A. de C.V.
Meiwa Industry North America, Inc.              Oakwood Energy Management
Merrimac Industrial Sales                       Oakwood Metal Fabricating
Metro 3PL                                       Occupational Health & Rehab
Mettle Filtration Products                      Occupational Health Centers
Mezger, Inc.                                    Occupational Health Services
MH Equipment Company                            Occupational Health Services of the
Michael Lewis                                       SW PA, DBA; Concentra
Mico Industries, Inc.                           ODC Tooling & Molds
Mideast Machinery Movers                        O-Flex Automotive Inc.
Midwest Knife Grinding Inc.                     Ohio Treasurer of State
Mill Service & Supply                           Olsten Staffing Services Inc.
Minitab Inc.                                    Omega Engineering Inc.
Mister Label, Inc.                              Omni Services
Modern Pest Control                             Omni-Tech Sales, Inc.
Mokon                                           OPUS Packaging
Mold Masters Company                            Orbis Material Handling
Monson Companies                                Ox Industries
Moore's Sandblasting                            P&R Communications
Motion Industries                               Pacific Insight Electronics Corp
MPI Morheat Inc.                                Palmer Bolt & Supply Co
MSC Industrial Supply Co                        Palmetto Synthetics
MSW Machinery Solutions, LLC                    Parker Steel International
MTS Systems Corporation                         Patrick Do
MTZ Enterprise Services LLC                     Pingor Technology Company Limited
Muller Textile                                  Pioneer Material Precision Tech Co.,
Myson's Tire Sales                                  Ltd.
Nagase Enterprise Mexico S.A. de                Pitney Bowes
   C.V.                                         PKP Process Instruments
Nanjing Tianming Composite                      Plastic Age Products Inc.
National Filter Media                           Plastic Age***tooling***
Nefab Mexico S. de C.V.                         Polimeros Y Derivados, S.A. de C.V.

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Polyquest Inc.                                  Safety Kleen Corp
Portland Harmon Auto Glass                      Sage Automotive Interiors
Precision Fabrics Group Inc.                    SC DHEC Stormwater & Agricultural
Preferred Precision Group, LLC                  Scandic Springs
Preferred Printing                              Schon Packaging Inc.
Premium Sound Solutions America                 Seal Methods Inc.
    LLC                                         Seiren Viscotec Mexico S.A.de C.V.
Prisma Health                                   Seraph Consulting, Ltd.
Pro Design & Manufacturing LLC                  Seton Identification Products
Process Control Corporation                     Shaw Industries Inc.
Proheat Inc.                                    Shawmut LLC
Propane Specialist                              Shealy Electrical Wholesalers
Protomed Inc.                                   Shimadzu Scientific Instruments
PSC Crane and Rigging                           Sidney Shelby County YMCA
PSC Fabricating                                 Sidney Windustrial
PTI Quality Containment Solutions               Sidney-Shelby Co. Chamber of
Pulcra Chemicals, LLC                               Commerce
Purolator EFP Business Solutions                Simply-Supported
Qualitech Business Solutions                    Slagle Mechanical Contractors
Quality Liaison Services                        Smith Machine & CNC Inc.
Quench USA                                      Somatex
Rebo Lighting & Electronics, LLC                Sonoco Protective Solutions
Reed City Group, LLC                            Southeast Industrial Equipment
Reliance Standard Life Insurance                Southeastern Freight Lines
    Company                                     Southern Heat Corporation
Reynolds Company                                Southern Optical Company
Richbourg's Rentals                             Springfield Corrugated Box, Inc.
Rieck Mechanical Services                       St Germain Properties LLC
Riverside Equipment & Truck Repair              Staff Bright
    Inc.                                        Standard Distributors Inc.
Robert A Main & Sons Inc.                       Standridge Color Corp
Robert Half Finance & Accounting                State Chemical MFG Co
Rochester Midland                               Staubli Corp
Rolf Koerner, LLC                               Stein Fibers Ltd.
Roll Service Industries LLC                     Stericycle DBA Shred-It
Rourk Plumbing                                  Stewarts of America Inc.
Royal River Orchards                            Stoner Inc.
S.A. Comunale                                   Stratosphere Quality
SA Automotive S. de R.l. de C.V.                Studio Eleven
Sabattus Machine                                Summerton Fabrications

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Sumter County Treasurer                         Venture Plastics, Inc.
Superior Bands Inc.                             Victory Machine & Fab
Sweed Machinery Inc.                            Vision Service Plan
Synergeering Group, LLC                         Vistech Manufacturing Solutions
System 7 Inc.                                   Vistech Tooling
Taizhou Hailun Import and Export                Volk Packaging Corp
    Trading Co., Ltd.                           Walton Technologies LLC
Takumi Stamping                                 Waterjet Service Inc.
Tape Craft                                      WB Mason Co. Inc.
Team Quality Services                           WC Rouse & Son
Techmer Pm                                      WD Matthews Company
Technical Maintenance, Inc.                     We Can Too LLC
Techstyles Inc.                                 Webb Mason, Inc.
Tennant Company                                 Wells Brothers
Termax Mexico S. de R.L. de C.V.                Wells Fargo
Textile & Industrial Sales                      Whitlam Label Co. Inc.
Thayer Corporation                              Wolf Machine Co
The CIT Group/Commercial Services               Wuxi Perun Rubber & Plastic Co.,
The Robot Company                                   Ltd.
Thermal Printer Solutions                       Wuxi Sun Warm Packaging Material
Three Way Logistics, Inc.                           Co., Ltd.
Tooling Technology LLC                          X Rite Inc.
Toray International America, Inc.               Xaloy Inc.
Tricorp Electrical                              XPO Express
Tri-State Pallet & Packaging Inc.               Xtra Storage Rental Co.
Tuopu USA LLC                                   Yazaki North America
UL Environment, Inc.                            YRC Freight
UL LLC                                          Zhongshan Hord Rapidtools Co., Ltd.
Uline                                           Zschimmer & Schwarz
Unifi Manufacturing Inc.                        Zwisstex Mexico, S. de R.L. de C.V.
Unifirst Corp
Unique Fabricating                              The Official Committee of
United Gasket Corporation                           Unsecured Creditors
UPS                                             189 Milacron, LLC
Ureblock S.A. de C.V.                           Drake Extrusion, Inc.
US Hydraulic & Pneumatic, Inc.                  Hartt Transportation System, Inc.
US Machine & Tool Inc.                          Mitsuiya Industries, Co., Ltd.
USF Holland                                     Pingor Technology Company Limited
Vecoplan LLC                                    Pro Design & Manufacturing LLC
Velcro USA Inc.                                 Stein Fibers Ltd.

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UCC Professionals                              Opentext
Foley & Lardner LLP                            Paper Transport
                                               PGE
Utilities                                      Republic
Advanced Technologies Services                 Ridgill's Lawn Service
    Bureau                                     SCE&G Dominion
AES (Dayton Power and Light)                   Silco Fire & Security
AGIL IT Pro Point                              Sprinkler Systems
All Type Fire & Security                       Stanley Elevator
Amos Development                               Staylinked
Arete Advisors                                 System Architecture
Ash Grove                                      T&A Enterprises
Auburn Water and Sewer                         TPX Communications
Autumn Oaks Lawn Care                          Transports M. Charette
Brite Cleaning Industries                      Unitil
Business Equipment Unlimited                   Verizon
C&C Recycling                                  Waste Management
Camden Fire Extinguisher                       Windstream Enterprise
Centerpoint Energy
Central Maine Power                            Tax Agencies
Centurylink                                    Canada Revenue Agency
Centurylink/Lumen                              Maine Revenue Services
Cherokee Run Landfill                          Ohio Dept of Taxation
City of Sidney                                 South Carolina Dept of Revenue
City of Sumter
City of Wixom                                  Office of the United States Trustee
Comcast                                        Andrew R. Vara
Constellation                                  Ariel Olah
Consumer Energy                                Barbara Heilig
Direct Energy                                  Deanna Jones
DTE                                            Deidre Rozier
Duke Energy                                    Delia C. Wells
Firesafe Equipment                             Edward Dorda
IGS                                            Eric Sumners
Innerlink                                      Jill Gies
Labonte's Landscaping                          Kelley Callard
Linear Building Services                       Leslie K. Berg
Markley                                        Michael C. Liakos
Microsoft                                      Neda Miladinovich
Ontrack, Inc.                                  Paul J. Randel

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Richard Roble
Rita Pyles
Ronna Jackson
Sean Cowley
Sherrie L. Schlosser
Stephen Wagner
Tatheer Zahra
Timothy Graves
Timothy S. Carr

Bankruptcy Court Judges
Chief Judge Daniel S. Opperman
Judge Joel D. Applebaum
Judge Lisa S. Gretchko
Judge Maria L. Oxholm
Judge Mark A. Randon
Judge Thomas J. Tucker




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                                                      Exhibit B-2

  List of parties in interest, or affiliates thereof, that currently or formerly
engage(d) BRG, sorted by their relationship to the Debtors, that are unrelated
                                  to these Cases 1


Secured Creditors/Vendors                                           Largest Creditors List Parties
Bank of The West                                                    Constellation New Energy, Inc.
Toyota Industries Commercial                                        Duke Energy Progress
   Finance, Inc                                                     FedEx
                                                                    Johnson Controls*
Secured Lenders                                                     Tesla, Inc.*
Comerica
General Motors LLC                                                  Unsecured Creditors/Vendors
Huntington National Bank*                                           ABB Inc*
Tesla, Inc.*                                                        Aegis Sciences Corporation*
                                                                    Avis*
Secured Lender's Counsel                                            Blue Cross Blue Shield of Michigan*
DLA Piper LLP (US)*                                                 Centurylink Business Services*
                                                                    Cintas Corporation
Customers                                                           Compass Group USA*
Chrysler Company LLC                                                Constellation New Energy, Inc.
Ford Motor Company                                                  Crown Equipment Corporation
Ford Service                                                        Dassault Systemes Americas Corp
General Motors LLC                                                  DHL Global Fowarding
Navistar*                                                           Duke Energy Progress
Nissan Carson                                                       Fedex
Nissan Group of North America                                       Fedex Freight
Nissan North America Inc                                            Grainger Parts
Parker Hannifin Corporation*                                        Graybar Corporation*
Tesla, Inc.*                                                        Honeywell Scanning and Mobility
Toyota Motor Engineering And                                        Ingersoll-Rand Industrial US Inc*
   Manuf.                                                           Innovative Labeling Solutions*
Toyota NAPCK                                                        Insight*
Volkswagen Group of America, Inc.*                                  Johnson Controls*
                                                                    K&L Gates LLP*
                                                                    Kelly Services (Canada) Ltd*

1
    Parties in interest marked with an asterisk (*) are related to closed matters.


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Matheson Tri Gas
MTS Systems Corporation*
Ohio Treasurer of State
Prisma Health*
Reynolds Company
Safety Kleen Corp*
UPS*
Wells Fargo

UCC Professionals
Foley & Lardner LLP*

Utilities
Amos Development*
Centurylink*
Centurylink/Lumen*
Comcast
Constellation
Direct Energy*
Duke Energy
Microsoft
PGE*
Republic
Verizon*
Waste Management
Windstream Enterprise*

Tax Agencies
Canada Revenue Agency*
Ohio Dept of Taxation




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                                    Exhibit C


                          (Indemnification Provisions)

       In the event that Berkeley Research Group, LLC (“BRG”) or any of its
affiliates, partners, officers, directors, shareholders, agents, employees or
controlling persons (collectively, the “Indemnified Persons” and each, an
“Indemnified Person”) becomes involved in any capacity in any claim, action,
proceeding or investigation (collectively, “Actions”) brought by or against any
person, including equity holders of the Debtor, in connection with or as a result of
BRG’s engagement as financial advisor to the Official Unsecured Creditors’
Committee (the “Committee”), the Debtor periodically will advance to the
Indemnified Persons amounts necessary to pay their reasonable out-of-pocket legal
and other expenses (including the cost of any investigation and preparation)
incurred in connection therewith; provided, however, that if it is finally found (in
a non-appealable judgment) by a court of competent jurisdiction that any loss,
claim, judgment, damage or liability of an Indemnified Person has resulted
primarily from the gross negligence or willful misconduct of such Indemnified
Person in performing the services on behalf of the Committee, such Indemnified
Person shall repay such portion of the advanced amounts that is attributable to
expenses incurred in relation to the act or omission of such Indemnified Person
that is the subject of such non-appealable judgment. The Debtor also will
indemnify and hold the Indemnified Persons harmless from and against any and
all losses, claims, judgments, damages or liabilities to which such Indemnified
Person may become subject under any applicable law, or otherwise, that is related
to, arising out of, or in connection with BRG’s engagement on behalf of the
Committee and without regard to the exclusive or contributory negligence of any
Indemnified Person except to the extent that it is finally found (in a non-appealable
judgment) that any such loss, claim, damage of liability resulted primarily from
the gross negligence, willful misconduct or bad faith of the Indemnified Persons
in performing the services on behalf of the Committee.
       Upon receipt by an Indemnified Person of actual notice of an Action against
such Indemnified Person with respect to which indemnity may be sought, such
Indemnified Person shall promptly notify the Debtor in writing; provided that
failure to so notify the Debtor shall not relieve the Debtor from any liability that
the Debtor may have on account of this indemnity or otherwise, except to the extent
the Debtor shall have been materially prejudiced by such failure. The Debtor shall,
if requested by the Indemnified Person, assume the defense of any such Action,
including the employment of counsel reasonably satisfactory to the Indemnified
Person. An Indemnified Person may retain separate counsel to represent it in the
defense of any Action, which shall be at the expense of the Debtor if (i) the
Indemnified Party does not request the Debtor to assume the defense of any such
Action or the Debtor does not assume the defense of the Action within a reasonable
period of time after being requested to assume the defense of the Action, or (ii) the
Indemnified Person is advised by counsel in writing that there is an actual or
potential conflict in the Debtor’s and the Indemnified Person’s respective interests
or additional defenses are available to the Indemnified Person, which makes
representation by the same counsel inappropriate; provided that in no event shall
the Debtor be obligated to pay expenses for more than one counsel in any one
jurisdiction for all Indemnified Persons in connection with any Action.


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       No Indemnified Person shall have any liability (whether direct or indirect,
in contract or tort or otherwise) to the Debtor or its equity holders or creditors
related to, arising out of, or in connection with, advice or services rendered or to
be rendered by any Indemnified Person on behalf of the Committee, the
transactions contemplated in these Cases or any Indemnified Person’s actions or
inactions in connection with any such advice, services or transactions except to the
extent any loss, claim, judgment, damage or liability is finally found (in a non-
appealable judgment) by a court of competent jurisdiction to have resulted from
the Indemnified Person’s gross negligence or willful misconduct.
       If for any reason, the foregoing indemnification is unavailable to an
Indemnified Person or insufficient to hold it harmless, then the Debtor shall
contribute to the amount paid or payable by the Indemnified Person as a result of
such loss, claim, damage or liability in such proportion as is appropriate to reflect
(i) the relative economic benefits to the Debtor and its equity holders, on the one
hand, and to the Indemnified Persons, on the other hand, of the matters covered by
this engagement; or (ii) if the allocation provided by the immediately preceding
clause is not permitted by applicable law, not only such relative economic benefits
but also the relative fault of the Debtor, on the one hand, and the Indemnified
Persons, on the other hand, with respect to such loss, claim, damage or liability
and any other relevant equitable considerations. For purposes of this paragraph,
the relative economic benefits to the Indemnified Persons of the matters
contemplated on behalf of the Committee, shall be deemed to be the fees paid or
to be paid to BRG; provided, however, that, to the extent permitted by applicable
law, in no event shall the Indemnified Persons be required to contribute an
aggregate amount in excess of the aggregate fees actually paid to BRG.
      The reimbursement, indemnity and contribution obligations of the Debtor in
this Exhibit C shall be in addition to any liability which the Debtor may otherwise
have, shall extend upon the same terms and conditions to any affiliate of the
Indemnified Persons, and shall be binding upon and inure to the benefit of any
successors, heirs and personal representatives of the Debtor, the Indemnified
Persons, any such affiliate and any such person.
      The Debtor shall not be required to indemnify an Indemnified Person for
any amount paid or payable by the Indemnified Person in the settlement of any
action, proceeding or investigation without the written consent of the Debtor,
which consent shall not be unreasonably withheld.




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                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


                                              )
In re:                                        )    Chapter 11
                                              )
Gissing North America LLC,                    )    Case No. 22-46160-tjt
a Delaware limited liability                  )
company, et al.                               )    Hon. Lisa S. Gretchko
                                              )
                         Debtors.1            )    (Jointly Administered)
                                              )

       NOTICE OF APPLICATION FOR ENTRY OF AN ORDER
     AUTHORIZING THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS TO RETAIN AND EMPLOY BERKELEY RESEARCH
      GROUP, LLC, AS FINANCIAL ADVISOR EFFECTIVE AS OF
        AUGUST 18, 2022 AND OPPORTUNITY TO RESPOND

      Please take notice that the Official Committee of Unsecured Creditors (the
“Committee”) of the above-captioned debtors and debtors-in-possession, Gissing
North America LLC et al. (the “Debtors”), has filed an Application for Entry of an
Order Authorizing the Official Committee of Unsecured Creditors to Retain and
Employ Berkeley Research Group, LLC (“BRG”), as Financial Advisor Effective as
of August 18, 2022 (the “Application”).

      Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in these bankruptcy cases. (If
you do not have an attorney, you may wish to consult one.)



         1
       Debtors’ cases are being jointly administered for procedural purposes only
and consist of Debtors Gissing North America LLC, Case No. No. 22-46160,
Gissing Auburn LLC, Case No. 22-46169, Gissing Fremont LLC, Case No. 22-
46170, Gissing Greenville LLC, Case No. 22-46171, Gissing Sidney LLC, Case No.
22-46172, Gissing Sumter LLC, Case No. 22-46173, Gissing Technologies LLC,
Case No. 22-46174 and Gissing Technologies Mexico LLC, Case No. 22-46175.
                                          1

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      If you do not want the court to grant the BRG’s Application, or if you want
the court to consider your views on the Motion, within 14 days, you or your attorney
must:

       1.    File with the court a written response or an answer, explaining your
position at:

                   United States Bankruptcy Court
                   Eastern District of Michigan
                   211 W. Fort Street, Suite 2100
                   Detroit, MI 48226

      If you mail your response to the court for filing, you must mail it early enough
so the court will receive it on or before the date stated above. All attorneys are
required to file pleadings electronically.


      You must also send a copy to:

Ann Marie Uetz                                 Geoffrey S. Goodman
John A. Simon                                  Michael J. Small
FOLEY & LARDNER LLP                            FOLEY & LARDNER LLP
500 Woodward Ave., Suite 2700                  321 N. Clark Street, Suite 3000
Detroit, MI 48226                              Chicago, IL 60654

       2.    If a response or answer is timely filed and served, the clerk will
schedule a hearing on the Application, and you will be served with a notice of the
date, time and location of the hearing.

      If you or your attorney do not take these steps, the court may decide that
you do not oppose the relief sought in the motion or objection and may enter an
order granting that relief.

      Please take note that, in accordance with Local Rule Bankruptcy Rule
2014-1(b), BRG is seeking the concurrence of the United States Trustee for this
Application. If the United States Trustee consents under Rule 2014-1(b) and no
other objections have been filed, an order approving the Application may be
entered prior to expiration of 14 day period under Local Bankruptcy Rule
9014-1, and without a hearing.

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Dated: September 2, 2022       FOLEY & LARDNER LLP

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                               John A. Simon (P61866)
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                               -and-

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                               ggoodman@foley.com
                               msmall@foley.com

                               Proposed Counsel to The Official Committee of
                               Unsecured Creditors of Gissing North America
                               LLC




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